Case 6:16-cv-00970-RBD-TBS Document 38 Filed 10/10/17 Page 1 of 3 PageID 159



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES OF AMERICA, ex rel.,
BARBARA BERNIER,

                      Plaintiff,

       v.                                           Case No. 6:16-cv-00970-RBD-TBS

INFILAW CORPORATION;
CHARLOTTE SCHOOL OF LAW, LLC,

                      Defendants.


            CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE
                   STATEMENT OF DEFENDANT INFILAW CORPORATION

      I hereby disclose the following pursuant to this Court’s Interested Persons Order and
Corporate Disclosure:

   1. The name of each person, attorney, association of persons, firm, law firm, partnership,
      and corporation that has or may have an interest in a party to this action or in the outcome
      of this action, including subsidiaries, conglomerates, affiliates, parent corporations,
      publicly-traded companies that own 10% or more of a party’s stock, and all other
      identifiable legal entities related to any party in the case:

              InfiLaw Corporation is a wholly-owned subsidiary of InfiLaw Holding, LLC.
              InfiLaw Corporation is the parent corporation for the following entities:
                     Charlotte School of Law, LLC
                     CSOL Holding, LLC
                     Arizona Summit Law School, LLC
                     Florida Coastal School of Law, Inc.
                     Inspiras Management Services, LLC
                     Inspiras Marketing Services, LLC

   2. The name of every other entity whose publicly-traded stock, equity, or debt may be
      substantially affected by the outcome of the proceedings:

              None.
Case 6:16-cv-00970-RBD-TBS Document 38 Filed 10/10/17 Page 2 of 3 PageID 160



       3. The name of every other entity which is likely to be an active participant in the
          proceedings, including the debtor and members of the creditors’ committee (or if no
          creditors’ committee the 20 largest unsecured creditors):

                  None

       4. The name of each victim (individual or corporate), including every person who may be
          entitled to restitution:

                  United States of America.

       5. Check one of the following:

___X____        I certify that I am unaware of any actual or potential conflict of interest involving
the District Judge and Magistrate Judge assigned to this case, and will immediately notify the
Court in writing upon learning of any such conflict.

-or-

________      I certify that I am are of a conflict or basis of recusal of the District Judge or
Magistrate Judge as follows:




                                                  2
Case 6:16-cv-00970-RBD-TBS Document 38 Filed 10/10/17 Page 3 of 3 PageID 161



Dated: October 10, 2017                  Respectfully submitted,

                                          /s/ David Mills
                                          Vincent A. Citro, Esq.
                                          Florida Bar. No. 0468657
                                          LAW OFFICES OF MARK L. HORWITZ,
                                          P.A.
                                          17 East Pine Street
                                          Orlando, FL 32801
                                          Tel: (407) 843-7733
                                          Fax: (407) 849-1321
                                          Email: vince@mlhorwitzlaw.com

                                          David Mills, Esq.
                                          COOLEY LLP
                                          1299 Pennsylvania Avenue
                                          Washington, D.C. 20004
                                          Tel: (202) 842-7800
                                          Fax: (202) 842-7899
                                          Email: dmills@cooley.com
                                          Admitted Pro Hac Vice

                                          Mazda K. Antia, Esq.
                                          COOLEY LLP
                                          4401 Eastgate Mall
                                          San Diego, CA 92121
                                          Tel: 858-550-6000
                                          Fax: 858-550-6420
                                          Email: mantia@cooley.com

                                         Attorneys for Defendants InfiLaw Corporation
                                         and Charlotte School of Law, LLC




                                     3
